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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


   IN RE VALSARTAN,
   LOSARTAN, AND
   IRBESARTAN PRODUCTS
   LIABILITY LITIGATION                          HON. RENÉE MARIE BUMB
                                                     MDL NO. 19-2875

   THIS DOCUMENT RELATES TO
   ALL CASES


              PLAINTIFFS’ PROPOSED FINDINGS OF FACT
         IN ACCORDANCE WITH SPECIAL MASTER ORDER NO. 98

        Plaintiffs hereby submit their proposed findings of fact in accordance with

  Special Master Order No. 98. Each proposed finding of fact includes citations to the

  portions of SMO 98 that support each request, for ease of reference.

                      Proposed Findings of Fact Against ZHP

        The Court has made the following findings of fact with regard to ZHP that

  you are required to accept as true in evaluating the evidence and reaching your

  verdict:

        1.    Baohua Chen is the CEO and the highest-level executive in ZHP.

  (SMO 98, at 1-2).

        2.    Baohua Chen had direct involvement with issues central to this case.

  (SMO 98, at 3).




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         3.    Baohua Chen’s involvement and authority with respect to the

  development, manufacture, sale, and recall of ZHP’s Valsartan was substantial, and

  it is likely that Mr. Chen has personal, unique firsthand knowledge regarding the

  matters at issue in this case. (SMO 98, at 3).

         4.    During the course of discovery in this case, when the Parties were

  required to produce documents and conduct the depositions of witnesses, the Court

  ordered ZHP to produce Baohua Chen for his deposition by the Plaintiffs. ZHP

  violated the Court Order requiring ZHP to produce Mr. Chen for his deposition, and

  Mr. Chen was not produced for his deposition. This deprived the Plaintiffs of their

  right to take the deposition of Mr. Chen. (SMO 98, at 2-4, 10-13, 19-21, 25-26, 30,

  32).

         5.    During the course of discovery in this case, ZHP was also required by

  Court Orders to produce relevant documents, and failed to fully comply with those

  Court Orders. In addition to the failure to produce certain documents at all,

  documents that were produced were not produced in the required form. For example,

  ZHP was required by Court Orders to produce the July 27, 2017 email written by

  Jinsheng Lin, in its native form. The July 27, 2017 email references ZHP’s

  knowledge that its Valsartan was contaminated with NDMA, in discussing the

  problems presented by the finding of another nitrosamine impurity in Irbesartan, a

  similar drug substance manufactured by ZHP with a similar process as used to


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  manufacture Valsartan. The native form of the document is the primary electronic

  form of the document, including the metadata for the document, which is

  information embedded in an electronic document.          The metadata would have

  included information about when the document was written, who it was sent and

  forwarded to and when, and other relevant information. Instead, ZHP only produced

  a copy of the July 27, 2017 email in PDF form, without the metadata for the

  document. This deprived the Plaintiffs of their right to be provided the July 27, 2017

  email in its primary electronic form with its metadata, so that the Plaintiffs could

  fully investigate and understand the email. In addition, despite the email being sent

  to numerous key personnel at ZHP, it was not produced in the custodial file for the

  author of the email, Jinsheng Lin, and was only produced in the custodial file of one

  of the numerous recipients of the email, Min Li. In addition, ZHP created an internal

  Irbesartan Report addressing ZHP’s investigation into the nitrosamine impurity

  found in Irbesartan referenced in the July 27, 2017 email. ZHP failed to produce all

  drafts of the Irbesartan Report, as required, and the single draft produced was not

  produced in its native, primary electronic form with its metadata. This deprived the

  Plaintiffs of their right to fully understand and investigate the report and ZHP’s

  internal investigation and decision making with regard to nitrosamine impurities in

  its sartan drug substances, including Valsartan. (SMO 98, at 4-10, 21-26, 32-33, 36-

  37).


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        6.    The Court has determined that Baohua Chen’s deposition testimony

  and the documents ZHP failed to produce as required would have provided

  information that would have been adverse to ZHP, and would have favored the

  Plaintiffs. (SMO 98, at 33-34, 36-39).

        7.    The Court has determined that ZHP, at Baohua Chen’s direction,

  covered up and prevented the disclosure of ZHP’s actual knowledge of the

  nitrosamine contamination of ZHP’s Valsartan from at least July 27, 2017 until

  ZHP’s customer Novartis discovered the contamination and informed ZHP of its

  discovery in June, 2018. ZHP then disclosed the contamination. (SMO 98, at 36-39)

        8.    The Court has determined that ZHP violated its Court ordered legal

  obligations to produce Baohua Chen for his deposition and produce documents as

  required because ZHP and Mr. Chen knew of the nitrosamine contamination of

  ZHP’s Valsartan at least as of July 27, 2017, and at Mr. Chen’s direction covered up

  and prevented disclosure of the nitrosamine contamination until ZHP’s customer

  Novartis discovered the contamination and informed ZHP of its discovery in June,

  2018. ZHP then disclosed the contamination. (SMO 98, at 36-39).

                                           Respectfully,



                                           Adam M. Slater
                                           Plaintiffs’ Liaison Counsel




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